Case No. 1:08-cv-01746-LTB Document 1 filed 08/15/08 USDC Colorado pgiof8

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 08 ev

RYAN INTERNATIONAL AIRLINES, INC.,
a Kansas corporation

Plaintiff,
Vv.

MAYTAG AIRCRAFT CORPORATION,
a Colorado corporation,

Defendants.

COMPLAINT FOR DAMAGE TO PERSONAL PROPERTY

Plaintiff, Ryan International Airlines, Inc., a Kansas corporation (hereinafter referred to
as the Plaintiff) by and through its attorneys, Wade Warthen and Bethany A. Johnson, brings this
lawsuit against the Defendant, Maytag Aircraft Corporation, a Colorado corporation, (hereinafter

referred to as Defendant), and in support thereof states as follows:

PARTIES
1, Plaintiff 1s a Kansas corporation with its principal office located at 4949 Harrison
Avenue, Suite 204, Rockford, Illinois.
2, Defendant is a Colorado corporation with its principal office located at 6145

Lehman Drive, Suite 300, Colorado Springs, Colorado.
Case No. 1:08-cv-01746-LTB Document 1 filed 08/15/08 USDC Colorado pg 2of8

JURISDICTION

3. The court has jurisdiction over the lawsuit under 28 U.S.C. §1332(a}(1) because
the Plaintiff and the Defendant are citizens of different states and the amount in controversy

exceeds $75,000, excluding interest and costs.
VENUE
4, Venue is proper in this district under 28 U.S.C. §1391(a)(1} because Defendant
resides in this district, enue is proper in this district under 28 U.S.C. §1391(a)(3) because
Defendant is subject to personal jurisdiction in this district and there is no other district where the
suit may be brought.
FACTS
5. On or about August 17, 2005, the Plaintiff operated Flight #774 from Frankfurt
Main Airport, in Frankfurt, Germany to Kuwait International Airport, in Kuwait City, Kuwait,
utilizing its leased Boeing 757-200 (Airbus A320) aircraft bearing U.S. Registration Mark
N151GX (the “Aircraft”),
6. On the same date and while the Aircraft was stationed on the ground at Kuwait
International Airport, in Kuwait City, Kuwait, certain baggage was located inside of the Aircraft,

7. At the same time and place, the Plaintiff did not unload or transport any baggage

from the Aircraft.

8. At the same time and place, the Defendant was contractually obligated to unload

and transport baggage from the Aircraft for the United States Department of Defense.
Case No. 1:08-cv-01746-LTB Document 1 filed 08/15/08 USDC Colorado pg 3of8

9. At the same time and place, an individual hired or employed by the Defendant
and/or providing services in furtherance of the Defendant’s contractual obligation to unload and
transport baggage from the Aircraft for the United States Department of Defense, was present at
or about the Aircraft and was providing directional and/or other vehicle contro! signals or
communications to the driver of a baggage transport vehicle, and did so while the baggage

transport vehicle was being driven and operated in reverse toward the Aircraft.

10. At the same time and place, an individual hired or employed by the Defendant
and/or providing services in furtherance of the Defendant’s contractual obligation to unload and
transport baggage from the Aircraft for the United States Department of Defense, was present at
or about the Aircraft and was driving said baggage transport vehicle in reverse toward the
Aircraft.

11, At the same time and place, the individual driving said baggage transport vehicle

failed to stop or change the path of the baggage transport vehicle prior to striking the Aircraft,

12. At the same time and place, the individual driving said baggage transport vehicle

struck the Aircraft with the baggage transport vehicle.

COUNT I
(NEGLIGENCE)

13. The Plaintiff incorporates herein all preceding paragraphs.

14, The individual driving and operating the baggage transport vehicle had a duty to

act reasonably and use due care in driving and operating the baggage transport vehicle.

15. ‘The individual driving and operating the baggage transport vehicle had a duty to

maintain a proper lookout, to obey directional and other vehicle control signals, to maintain
Case No. 1:08-cv-01746-LTB Document 1 filed 08/15/08 USDC Colorado pg4of8

proper speed for the conditions, to reduce speed to avoid an accident, to maintain a proper
distance between its vehicle and the Aircraft, and to control the baggage transport vehicle to

avoid striking the Aircraft.

16. The individual driving and operating the baggage transport vehicle breached its
duty of due care by failing to maintain a proper lookout, failing to obey directional and other
vehicle control signals, failing to maintain proper speed for the conditions, failing to reduce
speed to avoid an accident, failing to maintain a proper distance between its vehicle and the
Aircraft, failing to control and operate the baggage handling vehicle in manner that did not cause
damage to the Aircraft, and failing to stop or change the path of the baggage transport vehicle

prior to striking the Aircraft.

17. As a direct and proximate result of breaching such duty of care, the Plaintiff
suffered property damage, loss of profits, loss of use, loss of personal property, transportation

and fuel expenses, labor and crew expenses, and landing fees,

18. All the above damages were directly and proximately caused by the
aforementioned breach of such duty of care, and were incurred without contributory negligence
or assumption of the risk on the part of the Plaintiff, or an opportunity for the Plaintiff, to avoid

the accident.

19. On information and belief, the foregoing described acts and omissions by the
individual driving and operating the baggage transport vehicle occurred within the scope of

employment with Defendant.

20. Defendant is responsible for the negligence of the individual driving and

operating the baggage transport vehicle.
Case No. 1:08-cv-01746-LTB Document 1 filed 08/15/08 USDC Colorado pg5of8

WHEREFORE, the Plaintiff respectfully requests that this Court enter a judgment in
favor of Plaintiff and against Defendant for actual damages in excess of Seventy-five Thousand
Dollars and no/100s ($75,000.00), prejudgment and postjudgment interest, costs of suit, and such
other relief as this Court deems appropriate.

COUNT II
(NEGLIGENT SUPERVISION)

21. The Plaintiff incorporates herein all preceding paragraphs.

22. The Defendant had a duty to supervise and/or undertook the supervision of the

individual driving and operating the baggage transport vehicle.

23, The Defendant had a duty to act reasonably and use due care in supervising the

individual driving and operating the baggage transport vehicle.

24. The Defendant breached its duty of due care by failing to require that the
individual driving and operating the baggage transport vehicle understood directional and other
vehicle control signals or communications, failing to stop the individual driving and operating
the baggage transport vehicle from operating and driving such vehicle, failing to cause the
individual driving and operating the baggage motor vehicle to maintain proper speed for the
conditions, failing to cause the individual driving and operating the baggage motor vehicle to
reduce speed to avoid an accident, failing to cause the individual driving and operating the
baggage motor vehicle to maintain a proper distance between its vehicle and the Aircraft, failing
to cause the individual driving and operating the baggage motor vehicle to control and operate

the baggage handling vehicle in manner that did not cause damage to the Aircraft, and failing to
Case No. 1:08-cv-01746-LTB Document 1 filed 08/15/08 USDC Colorado pg6of8

cause the individual driving and operating the baggage motor vehicle to stop or change the path

of baggage transport vehicle before striking the Aircraft,

25, As a direct and proximate result of breaching such duty of care, the Plaintiff
suffered property damage, loss of profits, loss of use, loss of personal property, transportation

and fuel expenses, labor and crew expenses, and landing fees.

26. All the above damages were directly and proximately caused by the
aforementioned breach of such duty of care, and were incurred without contributory negligence
or assumption of the risk on the part of the Plaintiff, or an opportunity for the Plaintiff, to avoid

the accident.

WHEREFORE, the Plaintiff respectfully requests that this Court enter a judgment in
favor of Plaintiff and against Defendant for actual damages in excess of Seventy-five Thousand
Dollars and no/100s ($75,000.00), prejudgment and postjudgment interest, costs of suit, and such
other relief as this Court deems appropriate.

COUNT I
(NEGLIGENT HIRING)

The Plaintiff incorporates herein all preceding paragraphs.

27. The Defendant had a duty to act reasonably and use due care in hiring the
individual and/or company that would drive and operate the baggage motor vehicle used by
Defendant in the performance of Defendant’s baggage handling services for the United States

Department of Defense.

28. The Defendant breached its duty of due care by failing to require that the

individual and/or company hired by Defendant use a person to a drive the baggage motor vehicle
Case No. 1:08-cv-01746-LTB Document 1 filed 08/15/08 USDC Colorado pg /7of8

that understood directional and other vehicle control signals or communications, failing to
require that the individual and/or company hired by Defendant require that the person used to
drive the baggage motor vehicle have reasonable and sufficient knowledge, skill, and experience
in driving, operating, controlling, and/or following directions for the driving, operating and

proper controlling of, the baggage handling vehicle.

29. As a direct and proximate result of breaching such duty of care, the Plaintiff
suffered property damage, loss of profits, loss of use, loss of personal property, transportation

and fuel expenses, labor and crew expenses, and landing fees.

30. All the above damages were directly and proximately caused by the
aforementioned breach of such duty of care, and were incurred without contributory negligence
or assumption of the risk on the part of the Plaintiff, or an opportunity for the Plaintiff, to avoid

the accident.

WHEREFORE, the Plaintiff respectfully requests that this Court enter a judgment in
favor of Plaintiff and against Defendant for actual damages in excess of Seventy-five Thousand
Dollars and no/100s ($75,000.00), prejudgment and postjudgment interest, costs of suit, and such

other relief as this Court deems appropriate.
Case No. 1:08-cv-01746-LTB Document 1 filed 08/15/08 USDC Colorado pg 8of8

Respectfully submitted,

FRANKE GREENHOUSE LIST & LIPPITT LLP

s/ Wade Warthen

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